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                                                          Filed: November 4, 2008


                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT
                             1100 East Main Street, Suite 501
                              Richmond, Virginia 23219-3517
                                   www.ca4.uscourts.gov

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                        No. 07-4063, US v. Reece C. Whiting
                                     8:04-cr-00235-RWT

        TO: Reese Whiting

        Receipt is acknowledged of the documents recently transmitted to
        the Court. We have forwarded these documents to your attorney,
        who will act in your behalf. All future correspondence,
        including motions, should be sent to your attorney.

        Sharon A. Wiley
        Deputy Clerk
        804-916-2704
